ATTACHMENT
Correction to Doc. 175, Jf 24-31

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24,

UNC’s training program established the requirement that first-level involuntary
commitment examiners must rule out medica! causes before getting to the level of examining a
patient’s mental health. (See Exhibit E, pg. 14, 22 and 55).

25,

UNC’s training program established the standard that a patient’s thoughts are considered
as delusional when the patient’s thoughts are not consistent with the patient’s background. (See
Exhibit E, pg. 11 and 52).

26,

UNC’s training program established the requirement that a patient’s medical needs and
treatments be evaluated and cleared before the patient is triaged for mental illness and mental
health treatment. (See Exhibit E, pg. 20).

27,

UNC’s training program established the standard that a risk assessment of a patient is
important and necessary in order to make the best decision based on what the patient’s needs are.
(See Exhibit F, pg, 2 and 8).

28.

UNC’s training program taught that if a first-level commitment cxaminer is sued, the legal
system will look at the process the commitment examiner went through to reach the decisions they
made for the patient. (See Exhibit F).

29,
UNC’s training program taught that the risk assessment is intended to show the process of

how the commitment examiner arrived at the decision they made for the patient. (See Exhibit F,

pg. 2).

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30.

UNC’s training program established the standard and required procedure that a risk
assessment should include three components, a Biopsychosocial and Spiritual Evaluation, Mentai
Status Exam, and Collateral Information. (See Exhibit F, pg. 2).

31.

UNC’s training program established the standard that if a first-level commitment examiner

did not document a thing in a patient’s medical record, that means that thing did not happen. (See

Exhibit E, pg. 22 and 79).

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Correction to Doc. 175-1
EXHIBIT C

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Exhibit C, pg. 1 of 6

12/30/23, 4:28 PM

(15)

(16)

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(18)

(19)

(20)

(20a)

(20b)

(20c)

(21)

Chapter [22C

which the specific service provided is not covered under the terms
of a contract with an area authority;

d, The psychiatric service of the University of North Carolina
Hospitals at Chapel Hill;

e. A "residential facility", which is a 24-hour facility that is not a
hospital, including a group home;

f A "State facility", which is a facility that is operated by the
Secretary;

g. A "24-hour facility", which is a facility that provides a structured

living environment and services for a period of 24 consecutive
hours or more and includes hospitals that are facilities under this
Chapter; and

h, A Veterans Administration facility or part thereof that provides
services for the care, treatment, habilitation, or rehabilitation of the
mentally ili, the developmentally disabied, or substance abusers.

"Guardian" means a person appointed as a guardian of the person or
general guardian by the court under Chapters 7A or 35A or former
Chapters 33 or 35 of the General Statutes. ‘

"Habilitation" means training, care, and specialized therapies undertaken
to assist a client in maintaining his current fevel of functioning or in
achieving progress in developmental skills areas.

"Incompetent adult” means an adult individual adjudicated incompetent.

"Intoxicated" means the condition of an individual whose mental or
physical functioning is presently substantially impaired as a result of the
use of alcohol or other substance.

"law-enforcement officer" means sheriff, deputy sheriff, police officer,

State highway patrolman, or an officer employed by a city or county under
G.S, 122C-302.
"Legally responsible person" means: {i) when applied to an adult, who has
been adjudicated incompetent, a guardian; (ii) when applied to a minor, a
parent, guardian, a person standing in loco parentis, or a legal custodian
other than a parent who has been granted specific authority by law or in a
custody order to consent for medical care, including psychiatric treatment;
or (iii) when applied to an adult who is incapable as defined in G.S. 122C-
72(c) and who has not been adjudicated incompetent, a health care agent
named pursuant to a valid health care power of attomey.

"Local funds" means fees from services, including client payments,
Medicare and the local and federal share of Medicaid receipts, fees from
agencies under contract, gifts and donations, and county and municipal
funds, and any other funds net administered by the Division.

"Local management entity” or "LME" means an area authority, county
program, or consolidated human services agency. It is a collective term
that refers to functional responsibilities rather than governance structure.

"Local management entity/managed care organization" or "LME/MCO"
means a local management entity that is under contract with the
Department to operate the combined Medicaid Waiver program authorized
under Section 1915(b) and Section 1915(c) of the Social Security Act.

"Mental illness" means: (i) when applied to an aduit, an illness which so
lessens the capacity of the individual to use self-control, judgment, and
discretion in the conduct of his affairs and social relations as to make it
necessary or advisable for him to be under treatment, care, supervision,
guidance, or control; and (ii} when applied to a minor, a mental condition,

hitps://web.archive.org/web/20 £509 1901265 Lhttp:/iww.ncleg.netEnactedLegisfation/Statutes/HTML/By Articte/Chapter_122C/Article_f html

6A

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xhibit C, pg. 2 of 6

North Carolina Department of Health and Human Services
Division of Mental Health, Developmental Disabilities,
And Substance Abuse Services

Local Management Entities/ Managed Care Organizations
Administrative Functions Monitoring Report
September 2016

Prepared by:

Quality Management Section
Division of Mental Health, Developmental Disabilities, and Substance Abuse Services
North Carolina Department of Health and Human Services
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Version: 11/2/2016

NC OM

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Exhiblt C, pg. 3 of 6
2/30/23, 5:58 PM Smoky Mountain LMIJMCO anmounces change to Vaya Health | Mountain press

Smoky Mountain LME/MCO announces
_ change to Vaya Health

Posted on October 4, 2016 — Max Hunt
' From Vaya Health:

_. WNC managed healthcare organization Smoky
|, Mountain MCO now operating as Vaya Health

October 4, 2016 — Smoky Mountain MCO, which manages public funds
for mental health, substance use and intellectual/ developmental
disability services in 23 western North Carolina counties, today
announced the organization will now operate under the name Vaya
Health (Vaya).

| | The new name reflects the organization’s expansion and evoiving
' | mission over the past four decades. Originally serving the state’s seven
westernmost counties, Vaya now operates in counties as far to the east
_ | as Rutherford, Alexander and Wilkes. The name Vaya, a variation on a

_ Spanish verb meaning “to go,” was inspired by our commitment to heip

: members and their families move forward to a place of healing, recovery
and hope.

The new organization name does not affect healthcare services,
supports or programs in any way. Vaya members will see no changes in
their benefit plans, provider options or other services due to the new
name. Vaya’s 24-hour, toll-free Access to Services and crisis line
remains available to the general public at 1-800-849-6127.

| | Maya has also launched a new, enhanced website

- at www.vayaheaith.com. The site makes it simpie for local residents to
learn about publicly funded services that may be available to them for
behavioral health and intellectual or developmental disability needs. It
also includes an easy-to-use provider search function, a calendar of
upcoming events throughout the region and expanded information on
local programs and community partnerships.

Vaya will continue to implement the organization’s Community and
Capitat Reinvestment Initiatives Plan, an effort to utilize $10 million
saved through effective Medicaid management to launch new or

|| expanded programs. Initiatives include creating regional crisis facilities in

| | Buncombe, Caldweil and Wilkes counties, as well as expanding the

| . Balsam Center in Haywood County. Other programs are designed to

: . reduce heroin/opioid drug use and overdose deaths, expand addiction
recovery housing and work toward integrating physical and behavioral

littpsi//mountalnx.com/blogwire/sinoky-mountain-] -announces-change-to-vaya-health!

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Exhibit C, pg. 4 of 6
12/30/23, 5:58 PM Smoky Mountain LME/MCO announces change to Vaya Health | Mountain Xpress

health services under a “whole-person care” model. Additional
reinvestment activities include enhancing veterans’ services, helping
individuals teaving institutions access legal services and expanding crisis
services for peopie with intellectual/developmental disabilities and their
families.

For more information, call 1-888-757-5726 or visit www.vayahealth.com.

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BEHAVIORAL HEALTH || HEALTH CARE |{ MANAGED CARE {| MENTAL HEALTH
SMOKY MOUNTAIN LMEMMiCO i SUBSTANCE ABUSE II VAYA HEALTH | WNC

About Max Hunt

Max Hunt grew up in South (New) Jersey and graduated from Warren Wilson
College in 2011. History nerd; art geek; connoisseur of swimming holes, hot
peppers, and plaid clothing. Follow me @J_MaxHunt

hitps://mountainx.comyblogwire/smoky-mountain-lmemco-announces-change-to-vaya-healtl’

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Case 1
Exhibit C, pg. 6 of 6

Smoky Health Plan Information

Administrative headquarters
200 Ridgefield Court, Suite 206
Asheville, NC 28806
Telephone: 828-225-2785
Fax: 828-252-9584

Smoky manages public funds for mental! health, substance use
and intellectual or developmental disability services for eligible
residents of the following 23 western North Caroling counties;

Alexander Haywood Swain
Alleghany Henderson Transylvania
Ashe Jackson Watauga
Avery Macon Wilkes
Buncombe Madison Yancey
Caldwell McDowell

Cherokee Mitchell

Clay Polk

Graham Rutherford

The current edition of this Consumer and Family Handbook Is available on our website:
www.smokymountaincenter.com.

A printed copy of this handbook is available upon request by calling the Smoky Customer Services line at
1-888-757-5726.

This handbook is available in Spanish and in alternative formats. If you need a larger-print version, or
have limited reading ability, call our Customer Services line at 1-888-757-5726,

Si necesita informacion en espafiol, Il4menos al 1-888-757-5726.

Smoky Heoith Plan Consumer ond Fomily Hondbook — 3rd Edition Novernber 2015 2

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